











Opinion issued July 15, 2009.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00603-CV




IN RE WEEKS MARINE, INC., Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Weeks Marine, Inc., seeks mandamus relief compelling the trial court
to grant its motion to compel an independent medical examination.


 &nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Justices Keyes, Hanks, and Bland.  


